 Case 2:17-bk-24180-VZ        Doc 23       Filed 01/23/19 Entered 01/23/19 15:29:51         Desc
                                               Page 1 of 3

Nancy Curry, Chapter 13 Standing Trustee
1000 Wilshire Blvd., Suite 870
Los Angeles, CA 90017
(213) 689-3014 FAX (213) 689-3055



                                     UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                          LOS ANGELES DIVISION
  In re                                            CHAPTER 13
   NIX, JACQUELINE E.
                                                   CASE NO. 2:17-bk-24180-VZ


                                                   NOTICE AND MOTION TO DISMISS CHAPTER 13
                                                   CASE (11 U.S.C. §§ 521(a) and
                                                   LBR 3015-1(c))

                                        Debtor     NO HEARING REQUIRED



PLEASE TAKE NOTICE that the Chapter 13 Trustee will and hereby does move the Court for an order
dismissing this case because of the debtor’s failure to meet the Chapter 13 bankruptcy
requirements as indicated in the below declaration.

DEADLINE FOR OPPOSITION AND REQUEST FOR HEARING

Local Bankruptcy Rule 9013-1 (R)() provides that any response and request for hearing must
be filed and served not later than 14 days of the date of service. A party who responds to a
Trustee’s motion to dismiss must obtain a hearing date from the Court and give notice thereof with
the response Local Bankruptcy Rule 3015-1 (w) (3).

DATED: January 23, 2019                                                            /s/ Nancy Curry

I, Nancy Curry, in the above captioned matter declare:

1. I am the Chapter 13 Standing Trustee and am duly qualified to make this declaration.
    As to the following facts, I know them to be true from my personal knowledge or I have gained
    knowledge of them from my business records which were maintained in the ordinary course of
    business made at or near the time of the acts, conditions, or events to which they relate. Any
    such document was prepared in the ordinary course of business by a person who has personal
    knowledge of the event being recorded and who had or has a business duty to record
    accurately such event.

2. I recommend that the Court dismiss this case because the Debtor has failed to comply with
    Chapter 13 requirements as set forth in the attached which is incorporated herein by reference.


I declare under penalty of perjury that the foregoing is true and correct. Executed at Los Angeles,
California on January 23, 2019
                            .    .


                                                                                /s/ Nancy Curry


 TMD AFT 341 DEF
TMD AFT 341 DEF
Case 2:17-bk-24180-VZ           Doc 23     Filed 01/23/19 Entered 01/23/19 15:29:51                Desc
                                               Page 2 of 3

Case No. 2:17-bk-24180-VZ       NIX, JACQUELINE E.

I recommend that the Court dismiss this case because the Debtor has failed to:

        meet the eligibility requirements for a Chapter 13 Debtor under 11 U.S.C. § 109(e)
        because Debtor’s debts exceed the statutory maximum allowed for a Chapter 13
        Debtor;

        meet the eligibility requirements for a Chapter 13 Debtor under 11 U.S.C. § 109(e)
        because Debtor does not have regular monthly income;
  
       provide valid proof of social security number at the Meeting of Creditors (Fed. R.
          Bankr. P. 4002(b));

       provide valid identification at the Meeting of Creditors (Fed. R. Bankr. P. 4002(b));
  
       file schedules, statements and/or plan (Fed. R. Bankr. P 1007 and 3015(b), 11 U.S.C.
          §§521(a)(1)(B) and 1321);
  
       provide evidence to the Court and the Trustee that the plan DQGRUWKHQRWLFHhas
  EHHQSURSHUO\VHUYHG )HG5%DQNU3I/%5EG	J


       provide the Trustee evidence of current income (as well as any contributor’s income)
          seven days before the 11 U.S.C. §341(a) Meeting of Creditors (11 U.S.C. § 521(a)(1),
          LBR 3015-1(c)); 

       meet the reporting requirements regarding debtor’s business or self employment (LBR
          3015-1(c)(4));

   ✔ provide to the Trustee complete copies of the required income tax returns (11 U.S.C.
        §§ 521(a)(1), 1308, LBR 3015-1(c)(3));

      disclose all previous and related cases in the petition and/or statements (LBR 1015-2);

   ✔make all required plan payments (11 U.S.C. §§1307, 1326(a) and LBR 3015-1(k));

   ✔tender evidence of all post petition mortgage payments to the Court for all real
        properties in which Debtor maintains an ownership interest (11 U.S.C. §1307 and LBR
        3015-1(m));

      disclose all necessary expenses in Schedule J (11 U.S.C. §521(a)(1)(ii));
  
       disclose and provide adequately for ongoing debt obligations (11 U.S.C. §521(a)(1),
          11 U.S.C. §1325(a)(6));
  
      propose a plan payment amount that will retire within the term of the plan (11 U.S.C.
          §1322(a) and (b));

      propose a plan that meets the liquidation requirements of 11 U.S.C. § 1325(a)(4); and

   ✔timely address the issues set forth in the Trustee’s objection to confirmation.
         Case 2:17-bk-24180-VZ              Doc 23        Filed 01/23/19 Entered 01/23/19 15:29:51                          Desc
                                                              Page 3 of 3

                                          PROOF OF SERVICE OF DOCUMENT

  ,DPRYHUWKHDJHRIDQGQRWDSDUW\WRWKLVEDQNUXSWF\FDVHRUDGYHUVDU\SURFHHGLQJ0\EXVLQHVVDGGUHVVLV

                                       1DQF\&XUU\&KDSWHU7UXVWHH
                                       :LOVKLUH%OYG6XLWH
                                       /RV$QJHOHV&$
  $WUXHDQGFRUUHFWFRS\RIWKHIRUHJRLQJGRFXPHQWHQWLWOHGVSHFLI\NOTICE AND MOTION TO DISMISS
  CHAPTER 13 CASEZLOOEHVHUYHGRUZDVVHUYHG(a)RQWKHMXGJHLQFKDPEHUVLQWKHIRUPDQGPDQQHUUHTXLUHG
  E\/%5GDQG(b)LQWKHPDQQHUVWDWHGEHORZ
      
  1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
  3XUVXDQWWRFRQWUROOLQJ*HQHUDO2UGHUVDQG/%5WKHIRUHJRLQJGRFXPHQWZLOOEHVHUYHGE\WKHFRXUWYLD1()DQG
  K\SHUOLQNWRWKHGRFXPHQW2Q,FKHFNHGWKH&0(&)GRFNHWIRUWKLVEDQNUXSWF\FDVHRU
                                             January 23, 2019
  DGYHUVDU\SURFHHGLQJDQGGHWHUPLQHGWKDWWKHIROORZLQJSHUVRQVDUHRQ(OHFWURQLF0DLO1RWLFH/LVWWRUHFHLYH1()
  WUDQVPLVVLRQDWWKHHPDLODGGUHVVHVVWDWHGEHORZ
Julie J Villalobos          julie@oaktreelaw.com, oakecfmail@gmail.com;villalobosjr51108@notify.bestcase.com
                                                                            
                                                                           6HUYLFHLQIRUPDWLRQFRQWLQXHGRQDWWDFKHGSDJH
                                                                            
  2. SERVED BY UNITED STATES MAIL: 
       January 23, 2019
  2Q,VHUYHGWKHIROORZLQJSHUVRQVDQGRUHQWLWLHVDWWKHODVWNQRZQDGGUHVVHVLQWKLV
  EDQNUXSWF\FDVHRUDGYHUVDU\SURFHHGLQJE\SODFLQJDWUXHDQGFRUUHFWFRS\WKHUHRILQDVHDOHGHQYHORSHLQWKH
  8QLWHG6WDWHVPDLOILUVWFODVVSRVWDJHSUHSDLGDQGDGGUHVVHVDVIROORZV/LVWLQJWKHMXGJHKHUHFRQVWLWXWHVD
  GHFODUDWLRQWKDWPDLOLQJWRWKHMXGJHZLOOEHFRPSOHWHGQRODWHUWKDQKRXUVDIWHUWKHGRFXPHQWLVILOHG
                                                                          
     'HEWRU                                                               $WWRUQH\IRU'HEWRU
                                                                          
  Jacqueline E. Nix
                                                                          
  24107 Cross Street
                                                                          
  Newhall, CA 91321
                                                                          
                                                                          
                                                                           6HUYLFHLQIRUPDWLRQFRQWLQXHGRQDWWDFKHGSDJH
                                                                           
  3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAILVWDWH
  PHWKRGIRUHDFKSHUVRQRUHQWLW\VHUYHG
                                                                   January 23, 2019
  3XUVXDQWWR)5&LY3DQGRUFRQWUROOLQJ/%5RQ,VHUYHGWKHIROORZLQJSHUVRQVDQGRU
  HQWLWLHVE\SHUVRQDOGHOLYHU\RYHUQLJKWPDLOVHUYLFHRUIRUWKRVHZKRFRQVHQWHGLQZULWLQJWRVXFKVHUYLFH
  PHWKRGE\IDFVLPLOHWUDQVPLVVLRQDQGRUHPDLODVIROORZV/LVWLQJWKHMXGJHKHUHFRQVWLWXWHVDGHFODUDWLRQWKDW
  SHUVRQDOGHOLYHU\RQRURYHUQLJKWPDLOWRWKHMXGJHZLOOEHFRPSOHWHGQRODWHUWKDQKRXUVDIWHUWKHGRFXPHQW
  LVILOHG Honorable Vincent P. Zurzolo
                 U.S. Bankruptcy Court                                     
                 Bin outside of Suite 1360                                 6HUYLFHLQIRUPDWLRQFRQWLQXHGRQDWWDFKHGSDJH
                 255 E. Temple St, Los Angeles, CA 90012                   
  ,GHFODUHXQGHUSHQDOW\RISHUMXU\XQGHUODZVRIWKH8QLWHG6WDWHVWKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW
       
  
   January 23, 2019                                           3DXO2FKRD                             V3DXO2FKRD
  Date                                                  Printed Name                                  Signature

     7KLVIRUPLVPDQGDWRU\,WKDVEHHQDSSURYHGIRUXVHE\WKH8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH&HQWUDO'LVWULFWRI&DOLIRUQLD
     
     June 2012                                                                                  F 9013-3.1.PROOF.SERVICE


 Jacqueline E. Nix
 24107 Cross Street
 Newhall, CA 91321
